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CRIMINAL MINUTES

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

   

G HONORABLE SHELBY HIGHSMITH, PRESIDING

2F

 

 

 

Defendant(s): Prese

 
  
 

Reason for Hearing:

 

Result of Hearing:

 

 

 

Case Continued to:

 

 

Misc.:

 

 

 

 

 

 

 

 
